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 AE000303




 February 27, 2019

 Anthony Eid
 1247 Selden
 Detroit, MI 48201

 Dear Mr. Eid:

 I regret to inform you that at its meeting on February 27, 2019 the Promotions Committee has decided to dismiss you
 from the School of Medicine. This decision was reached after careful committee deliberation based upon an evaluation
 and discussion of your entire academic record/academic progress and the information you provided to the committee
 at your hearing.

 You have the option to voluntarily withdraw from the School of Medicine or to appeal this decision. If you choose one
 of these options, a letter stating your intention must be received within 10 business days of receipt of this letter. If
 you choose to withdraw, send your request to the Office of Student Affairs. You must clearly state that you understand
 that the withdrawal is permanent, irreversible, and non-appealable. If you choose to appeal your dismissal to the
 Promotions Committee, your appeal must be new information only. Please send your request for an appeal to the
 Office of Records and Registration.

 If, after your School/College appeal path is exhausted and you wish to continue with the academic appeal process, per
 the University Academic policy (https://provost.wayne.edu/academic-policy), you may request a Provost Review within
 30 days of this decision. The request should be addressed to Dr. R. Darin Ellis, Associate Provost for Academic
 Programs and sent electronically to ag6461@wayne.edu. If your appeal is denied by the Provost, then the dismissal
 would be permanent.

 If you should have any questions, please contact your counselor in the Office of Student Afairs at (313) 577-5196.


 Sincerely,



 Richard S. Baker, MD
 Chair, Promotions Committee
 Vice Dean for Medical Education

 Cc:      Margit Chadwell, MD, Associate Dean, Student Affairs
          Matt Jackson, PhD, Assistant Dean, Basic Science; Chair, Professionalism Committee
          Mrs. Loretta Robichaud, Academic Counselor, Student Affairs
          Office of Records and Registration, Division of Enrollment Management
          Office of Financial Aid, Division of Enrollment Management
          Dr. Darin Ellis, Associate Provost for Academic Programs




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